Case 1:15-cv-00349-REB-SKC Document 214 Filed 03/12/18 USDC Colorado Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 15-CV-00349-REB-CBS

   SAFE STREETS ALLIANCE,
   PHILLIS WINDY HOPE REILLY, and
   MICHAEL P. REILLY

            Plaintiffs,

   v.

   ALTERNATIVE HOLISTIC HEALING, LLC, d/b/a Rocky Mountain Organic,
   JOSEPH R. LICATA,
   JASON M. LICATA, et al.

        Defendants.
   ______________________________________________________________________

         STIPULATION TO DISMISS ALTERNATIVE HOLISTIC HEALING, LLC
                   JOSEPH R. LICATA AND JASON M. LICATA
   ______________________________________________________________________

            Plaintiffs Safe Streets Alliance, Phillis Windy Hope Reilly and Michael P. Reilly

   (collectively referred to as the “Plaintiffs”) by and through their counsel David H.

   Thompson of Cooper & Kirk, PLLC and Alternative Holistic Healing, LLC, Joseph Licata

   and Jason Licata (collectively referred to as the “Licata Defendants”) hereby stipulate

   and agree that all claims and complaints in the above-referenced action should be

   dismissed against the Licata Defendants, with prejudice, with each party to pay their

   own attorneys’ fees and costs. For the elimination of doubt, this stipulation of dismissal

   covers only the defendants listed above, and Plaintiffs’ claims against Defendants 6480

   Pickney, LLC, Parker Walton, and Camp Feel Good, LLC, remain pending before the

   Court.


                                                 1
Case 1:15-cv-00349-REB-SKC Document 214 Filed 03/12/18 USDC Colorado Page 2 of 3




   Date: March 12, 2018              Respectfully submitted,

                                     /s/ David H. Thompson
                                     ____________________________
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                                     Counsel for Plaintiffs



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                                     Counsel for the Licata Defendants




                                       2
Case 1:15-cv-00349-REB-SKC Document 214 Filed 03/12/18 USDC Colorado Page 3 of 3




                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 12, 2018, I electronically filed the foregoing with the

   Clerk of Court using the CM/ECF system, which will send notification of such filing to

   counsel for all parties in this case.



                                                     /s/ David H. Thompson
                                                     ________________________________
                                                     DAVID H. THOMPSON




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